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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

      State of Georgia, et al.,
                     Plaintiffs,
              v.
                                                         Case No. 2:15-cv-79-LGW-RSB
      Andrew Wheeler, et al.,
                  Defendants.

                 PLAINTIFF STATES ’ NOTICE OF PROPOSED R ULE
         The Plaintiff States notify the Court that on Tuesday, December 11, 2018, the U.S.

Environmental Protection Agency and the Department of the Army (together, the Agencies)

proposed a revised definition of “waters of the United States.” The Agencies issued a

prepublication version of the proposed rule (attached, and available at

https://www.epa.gov/sites/production/files/2018-12/documents/wotus_2040-

af75_nprm_frn_2018-12-11_prepublication2_1.pdf). This proposed rule does not appear to

modify the Agencies’ July 27, 2017 proposal to repeal the 2015 WOTUS Rule, a proposal that

apparently remains under consideration. See Definition of “Waters of the United States”—

Recodification of Preexisting Rule, 83 Fed. Reg. 32,227 (July 12, 2018). In addition, two courts

have now vacated the Applicability Rule,1 which would have delayed the enforcement of the

2015 WOTUS Rule until 2020. See S.C. Coastal Conservation League v. Pruitt, 318 F. Supp. 3d

959, 968-70 (D.S.C. 2018); Puget Soundkeeper All. v. Wheeler, 2018 WL 6169196, at *6-7

(W.D. Wash. Nov. 26, 2018). The 2015 WOTUS Rule challenged in this case thus remains in

effect, subject to this Court’s preliminary injunction against enforcement of that rule in the

Plaintiff States. See Order Granting Prelim. Inj., ECF No. 174.




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    Definition of “Waters of the United States” — Addition of an Applicability Date to 2015 Clean
    Water Rule, 83 Fed. Reg. 5,200 (Feb. 6, 2018).

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   Respectfully submitted.

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                              CERTIFICATE OF SERVI CE
       I hereby certify that on December 13, 2018, I served this Notice by electronically filing it

with this Court’s ECF system, which constitutes service on all attorneys who have appeared in

this case and are registered to use the ECF system.



                                                      /s/ Andrew A. Pinson
                                                      Andrew A. Pinson




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